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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7      ALEXANDRIA REAL ESTATE                             Case No. 18-cv-07517-LHK (SVK)
                                          EQUITIES, INC.,
                                   8
                                                         Plaintiff,                          ORDER REGARDING PLAINTIFF’S
                                   9                                                         MOTION TO COMPEL
                                                   v.
                                  10                                                         Re: Dkt. No. 48
                                          RUNLABS (UK) LIMITED, et al.,
                                  11
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14            Before the Court is the Parties’ May 23, 2019 joint discovery letter in which Plaintiff

                                  15   Alexandria Real Estate Equities, Inc. (“Plaintiff”) moves to compel Defendants RUNLABS (UK)

                                  16   Limited (“RUNLABS UK”), RUNLABS (Ireland) Limited (“RUNLABS Ireland”) and Steven

                                  17   Marcus (“Marcus”) (collectively, “Defendants”) to respond to Plaintiff’s first set of discovery

                                  18   requests. ECF 48. On May 1, 2019, the Honorable Lucy H. Koh dismissed Plaintiff’s complaint

                                  19   without prejudice for lack of personal jurisdiction. ECF 47. Judge Koh granted Plaintiff until

                                  20   May 30, 2019, to file an amended complaint. Id. at 20. In light of Judge Koh’s order, the Court

                                  21   ordered Plaintiff to select no more than ten discovery requests narrowly tailored to the issue of

                                  22   specific personal jurisdiction over Defendants. ECF 49. Plaintiff submitted those requests, and

                                  23   the Court held a hearing on May 28, 2019.

                                  24            Pursuant to the Parties’ meet and confer efforts, the Parties’ arguments and the reasons

                                  25   stated on the record at the May 28, 2019 hearing, the Court ORDERS as follows.

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                                   1              With the exception of Plaintiff’s Interrogatory No. 12, all three Defendants—Defendants

                                   2   RUNLABS UK, RUNLABS Ireland and Marcus—shall respond to the following discovery

                                   3   requests1 by June 6, 2019:

                                   4          •   Interrogatory No. 1 – “IDENTIFY all persons in the United States to whom YOU have

                                   5              transmitted or caused to be transmitted, the PROMOTIONAL DECK.”

                                   6          •   Interrogatory No. 2 – “IDENTIFY all persons in the United States to whom YOU have

                                   7              marketed, advertised or promoted YOUR services related to RUNLABS UK and

                                   8              RUNLABS Ireland within the last three (3) years.”

                                   9          •   Interrogatory No. 142 – “IDENTIFY all agreements YOU have entered into REGARDING

                                  10              YOUR providing of services related to RUNLABS UK and RUNLABS Ireland in

                                  11              California within the last three (3) years.”

                                  12          •   Request for Production No. 1 – “ALL COMMUNICATIONS with anyone in the United
Northern District of California
 United States District Court




                                  13              States REGARDING YOUR PROMOTIONAL DECK.”

                                  14          •   Request for Production No. 36 – “ALL official documents of incorporation, press releases

                                  15              or marketing materials CONCERNING YOUR contention that ‘RUNLABS has no

                                  16              operations in the United States.’”

                                  17

                                  18              In addition to the requests above, the Court ordered that Defendant Marcus shall also

                                  19   respond to the following request by June 6, 2019:

                                  20          •   Interrogatory No. 12 – “Describe in detail every time YOU have travelled to the United

                                  21              States for business since 2018, including but not limited to the dates of travel, reason for

                                  22              travel and location of travel.”

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                                  27     The Court adopted the following discovery request numbers based on the numbers that Plaintiff
                                       provided to the Court. Counsel is free to renumber these requests consecutively.
                                       2
                                  28     Plaintiff submitted this request as its Request for Production No. 5; however, the Court finds that
                                       it is more properly served as an interrogatory.
                                                                                           2
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                                   1          As noted above, by June 6, 2019, Defendants shall respond to Plaintiff’s discovery

                                   2   requests as modified by the Court. The Parties are preparing a stipulation for Judge Koh’s

                                   3   consideration requesting relief from the May 30, 2019 deadline to file an amended complaint.

                                   4   Finally, at the hearing, the Parties noted that they intend to enter into and file the District’s model

                                   5   protective order. The Court informed the Parties that once they sign the protective order, the terms

                                   6   of the protective order are effective, even if the Court has not yet approved and entered it.

                                   7          SO ORDERED.

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                                   9   Dated: May 28, 2019

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                                                                                                      SUSAN VAN KEULEN
                                  12                                                                  United States Magistrate Judge
Northern District of California
 United States District Court




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